       Case 3:05-cr-00087-RV-MD      Document 129         Filed 05/24/07      Page 1 of 1




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION
UNITED STATES OF AMERICA

        VS                                           CASE NO.      3:05cr 87/RV/MD
                                                                    3:06cv559/RV/MD

RODRIGO ULLO MARTINEZ

                                   REFERRAL AND ORDER

Referred to Judge Vinson on 05/23/2007
Type of Motion/Pleading MOTION FOR EXTENSION OF TIME UNTIL 5/31/2007
TO FILE OBJECTIONS TO THE REPORT AND RECOMMENDATION.
Filed by: DEFENDANT              on 5/23/07      Doc. No. 128
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
                                 on              Doc. No.
                                 on              Doc. No.
                                 WILLIAM M. McCOOL, CLERK OF COURT

                                          /s/ Teresa Cole
                                         Deputy Clerk: Teresa Cole

                                         ORDER

Upon    consideration   of   the   foregoing,   it   is    ORDERED   this     24 th   day   of
 May , 2007, that:
(a) The relief requested is DENIED AS MOOT.
(b) The Report and Recommendation has already been adopted, more than 30 days
after receipt by the defendant.




                                                           /s/ Roger Vinson
                                                         ROGER VINSON
                                             Senior United States District Judge
